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                                                  December 12, 2023

Michigan Health Clinics
Michigan Institute of Toxicology
Dr. David Stockman, Chief Executive Officer                                                  Via FedEx
3925 Fortune Blvd
Saginaw, MI 48603


RE:           Demand on behalf of North Star Scientific Solutions, LLC for Payment of Service
              Fees Related to the Consulting Agreement.

Dear Dr. Stockman,

The Vethan Law Firm, PC (“VLF”) is representing North Star Scientific Solutions (“North Star”)
in pursuit of payment from Michigan Health Clinics (“MHC”) for the agreed-upon service fees
related to the equipment and consumables provided under the Consulting Agreement
(“Agreement”) entered between North Star and Michigan Health on June 8, 2021.

Unfortunately, a concerning pattern has emerged regarding the timely settlement of invoices to
MHC. While MHC managed to bring all outstanding invoices up to date in February of 2023,
subsequent months have seen a recurrence of delays with various excuses on MHC’s end.

As of the date of this letter, the outstanding balance currently stands at $97,146.15, encompassing
charges for the services North Star has rendered. This balance accrues an ongoing late fee of five
percent (5%), automatically applied every thirty (30) days as shown on the invoices. Regrettably,
despite numerous attempts to resolve this matter, including several communications with you, Dr.
Stockman and Mr. Brett Moeller, this issue persists. On September 15, 2023, you committed to
providing a payment plan, yet to date, no such plan has been presented. Furthermore, promises of
partial payments made subsequently were not fulfilled, with the last received payment on October
27, 2023, falling significantly short of the agreed amount.

                                                TWO MEMORIAL CITY PLAZA
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The amounts demanded are as follows:
      1. Upfront Payment of the Outstanding Balance. North Star is owed Ninety-Seven
         Thousand One Hundred and Forty-Six and 15/100 Dollars ($97,146.15) for North
         Star’s performance under the Agreement.

       2. Attorney’s Fees. North Star will be demanding its attorney’s fees should litigation be
          pursued.

MHC has benefited from the services rendered by North Star, securing their license from the
Michigan Regulatory Agency (MRA) through North Star’s efforts. Specifically, North Star has
provided equipment, consumables, and has incurred necessary travel expenses. Despite Dr.
Stockman’s assurance that payment for North Star’s services would become more manageable
post-licensing, the agreed-upon fees remain unpaid, even after numerous requests. It is regrettable
that MHC has taken this course of action, putting North Star in an undesirable position.

North Star insists on the payment of the outstanding balance, as detailed above, within five (5)
days from the receipt of this letter. We anticipate receiving your prompt and full payment to North
Star to prevent any further escalation of this matter.

Should you have any inquiries or require further clarification, please feel free to contact me directly
at 713-526-2222 or by email at cvethan@vethanlaw.com and copy kaust@vethanlaw.com.

Regards,
Charles M.R. Vethan
Charles M.R. Vethan




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